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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Counsel for Defendant
6    Darling Arlette Montalvo
7

8                             IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                   )   No. 1:10-cr-00249-AWI-BAM-5
                                                 )
12                     Plaintiff,                )   STIPULATION AND ORDER
                                                 )   TO CONTINUE SENTENCING
13          vs.                                  )
                                                 )   Date: April 7, 2015
14   DARLING ARLETTE MONTALVO,                   )   Time: 10:00 a.m.
                                                 )   Judge: Hon. Anthony W. Ishii
15                     Defendant.                )
                                                 )
16                                               )
17

18          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel, KIRK E. SHERRIFF and HENRY Z. CARBAJAL, Assistant United States Attorneys,
20   counsel for plaintiff, and ERIC V. KERSTEN, Assistant Federal Defender, counsel for defendant,
21   Darling Arlette Montalvo, that the date for sentencing may be continued to April 7, 2015, at
22   10:00 a.m., or the soonest date thereafter convenient to the court. Sentencing is currently
23   scheduled for March 2, 2015.
24          The parties have engaged in preliminary discussions regarding certain potential joint
25   sentencing recommendations. While no agreements have been reached, the defense is requesting
26   additional time to attempt to negotiate such a resolution and the government does not object to the
27   continuance of the sentencing hearing to April 7, 2015. The parties do not anticipate any further
28   continuance of the sentencing hearing.
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1             The parties agree that any delay resulting from the continuance shall be excluded as
2    necessary for effective defense preparation pursuant to 18 U.S.C.§§ 3161(h)(7)(A) and
3    3161(h)(7)(B)(iv). For this reason, the ends of justice served by the granting of the requested
4    continuance outweigh the interests of the public and the defendant in a speedy trial.
5

6
                                                                  BENJAMIN B. WAGNER
7                                                                 United States Attorney
8             DATED: February 23, 2015                     By:    /s/ Kirk E. Sherriff
                                                                  /s/ Henry Z. Carbajal
9                                                                 KIRK E. SHERRIFF
                                                                  HENRY Z. CARBAJAL
10                                                                Assistant U. S. Attorneys
                                                                  Counsel for Plaintiff
11

12
                                                                  HEATHER E. WILLIAMS
13                                                                Federal Defender
14            DATED: February 23, 2015                     By:    /s/ Eric V. Kersten
                                                                  ERIC V. KERSTEN
15                                                                Assistant Federal Defender
                                                                  Counsel for Defendant
16                                                                Darling Arlette Montalvo
17

18                                                ORDER
19

20   IT IS SO ORDERED.
21
     Dated:    February 23, 2015
22                                                SENIOR DISTRICT JUDGE

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